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      EXHIBIT B
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PROMPT:
Summarize in detail the first part of "The Cabin at the End of the World" by Paul Tremblay

OUTPUT:

"The Cabin at the End of the World" by Paul Tremblay is a psychological horror novel that opens with a
tense and unsettling premise. This summary covers the early parts of the novel:

The story begins with seven-year-old Wen, the adopted Chinese daughter of a gay couple, Andrew and
Eric, who have decided to spend their vacation at a remote cabin in Northern New Hampshire. The area
is completely secluded, the perfect place for the family to unwind without distractions. While her dads
are inside the cabin, Wen is outside, capturing grasshoppers and naming them in her ongoing cataloging
effort.

While she's occupied with this, a large, friendly, but vaguely unnerving stranger named Leonard
unexpectedly arrives. He strikes up a conversation with Wen, who warms up to him despite her initial
reservations. Leonard is soft-spoken and gentle, but there's an air of unease about him. Just when
Leonard earns Wen's trust, the story takes a sinister turn.

Leonard apologizes to Wen for what's about to happen, and his previously disarming demeanor
suddenly becomes deeply unsettling. He tells Wen that none of what is about to transpire is her fault,
and he urges her to warn her parents. His cryptic message becomes more troubling when three more
people — Sabrina, Adriane, and Redmond — approach the cabin, carrying ominous homemade
weapons.

Meanwhile, inside the cabin, Andrew and Eric are wrestling with their own tensions and anxieties. The
narrative builds a vivid picture of their relationship and their love for their daughter. When Wen bursts
in, warning them about the approaching strangers, they are initially skeptical but quickly become
concerned when they see the look of fear in Wen's eyes and the sight of the strangers outside their
cabin.

When the strangers finally confront Andrew, Eric, and Wen, they deliver a chilling message. They claim
that they've been sent to deliver a prophecy: unless one of the family members willingly sacrifices their
life, an apocalyptic disaster will befall the world. The invaders insist they aren't there to hurt the family,
but their message sends a ripple of fear and uncertainty through the cabin.

In these early parts of the novel, Tremblay skilfully creates an escalating sense of dread and tension,
playing with themes of home invasion, sacrifice, and the limits of familial love. The isolated setting adds
to the novel's overall atmosphere of suspense and fear. The unknown intentions of the strangers and
their horrifying prophecy set the stage for a psychological and emotional battle that will unfold
throughout the rest of the story.

PROMPT:

Summarize in detail the next part of "The Cabin at the End of the World" by Paul Tremblay




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OUTPUT:

Following the tense setup in the initial part of the book, the narrative in "The Cabin at the End of the
World" by Paul Tremblay takes a dark and suspenseful turn in its next chapters.

After the revelation of the prophesy by Leonard, Sabrina, Adriane, and Redmond, Andrew and Eric are
understandably skeptical, yet terrified. They attempt to defuse the situation and protect Wen. However,
their efforts are fruitless. The strangers manage to force their way into the cabin, establishing an air of
simmering menace.

Leonard continues to be the spokesperson for the group, insisting that they aren't evil but have been
chosen to deliver and execute this horrifying prophecy. He repeatedly asserts that this isn't a random
home invasion, and they've been guided to Andrew, Eric, and Wen specifically.

During their confinement, the strangers share their personal stories and their experiences of the visions
that led them to the cabin. Despite their seemingly earnest belief in the prophecy, their revelations only
increase the tension and psychological horror. Andrew and Eric grapple with disbelief, shock, and
mounting fear. They try to find a way out of the situation, even contemplating escape or confrontation.

As the hours pass in the cabin, the pressure escalates. The strain of the situation brings underlying
tensions in Andrew and Eric's relationship to the surface, and they struggle to navigate their differing
reactions to the crisis. Wen, though terrified, shows a surprising amount of resilience and courage in
dealing with the strangers.

The next part of the book also includes intermittent sections detailing a series of bizarre and cataclysmic
events happening worldwide, which seem to lend credibility to the prophecy and up the stakes of the
situation in the cabin. These global events coincide with the timeline of the narrative, increasing the
unease and suspense for both the characters and the readers.

Towards the end of this section, there is a brutal and bloody confrontation, marking a significant turning
point in the story. This event is shocking in its violence and also raises further questions about the
strangers' prophecy, pushing the family to the brink and setting up an even more tense and uncertain
confrontation for the final part of the book.

Throughout these chapters, Tremblay masterfully maintains the suspense and psychological terror,
keeping the readers on the edge of their seats. The ambiguity around the strangers' prophecy, coupled
with the interpersonal dynamics of the characters and the increasing global chaos, serve to create a
chilling and compelling narrative.

PROMPT:

Summarize in detail the next part of "The Cabin at the End of the World" by Paul Tremblay




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OUTPUT:

The following part of "The Cabin at the End of the World" by Paul Tremblay deepens the atmosphere of
horror and tension. After a brutal confrontation in the previous section, the characters are pushed
further to their physical and psychological limits.

In the aftermath of the violent clash, Leonard remains steadfast in his belief in the prophecy. Despite the
gruesome event, he insists that they are only there to ensure the prophecy is fulfilled and will leave
peacefully once the necessary sacrifice is made. His unyielding commitment to the prophecy only
deepens the sense of terror.

As time passes and the pressure mounts, Andrew, Eric, and Wen face a seemingly impossible decision.
Should they believe in the prophecy and make a horrifying sacrifice to potentially save the world, or
continue resisting in hopes of escaping their captors?

Throughout this ordeal, they are subjected to more accounts from the intruders about their prophetic
dreams and visions, each one more unsettling than the last. While the adults are grappling with their
circumstances, young Wen demonstrates an incredible resilience and adaptability, doing her best to
comfort her fathers and trying to understand the strangers in her own way.

The tension continues to escalate when they hear news broadcasts reporting further inexplicable events
and disasters happening globally. This feeds into their fear and makes the prophecy seem more
believable. These events increase the level of uncertainty, making the story even more gripping for the
readers.

Andrew, Eric, and Wen each grapple with their own internal struggles, feelings of despair, and
desperation. They all respond differently to their circumstances, causing strain and emotional turmoil
within the family. The enforced confinement intensifies their personal fears and uncertainties,
challenging their understanding of each other and their shared commitment as a family.

Towards the end of this section, another violent confrontation transpires, further escalating the
situation and bringing more turmoil and pain. The prophecy appears closer to being fulfilled, pushing the
family and the intruders closer to a final, devastating confrontation.

Paul Tremblay's masterful storytelling continues to keep readers engrossed. The narrative is not just
about the terror of a home invasion but also explores deeper themes of faith, sacrifice, family bonds,
and the human capacity for belief in the face of fear and uncertainty.

PROMPT:

Summarize in detail the ending of "The Cabin at the End of the World" by Paul Tremblay

OUTPUT:

In the final part of "The Cabin at the End of the World" by Paul Tremblay, the suspense and tension that
has been building throughout the novel culminates in a climactic and harrowing conclusion.



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After the violent confrontations and revelations, Andrew, Eric, and Wen are pushed to the edge of
despair. The intruders persist in their belief of the prophecy and continue to insist on a sacrifice. The
reports of global catastrophes continue to escalate, which further destabilizes the family's hope for a
peaceful resolution.

When it becomes clear that there is no easy way out of their situation, Andrew and Eric have to grapple
with the terrifying prospect of the prophecy being real. Despite their skepticism and disbelief, the
thought of a potentially apocalyptic event drives them to consider unimaginable decisions.

In these moments of desperation, the narrative focuses on the characters' introspection, highlighting
their emotions, doubts, and fears, and the profound love they have for each other. Wen, though a child,
exhibits remarkable bravery and resilience, adding a heartbreaking layer to the narrative.

The climax of the story is filled with tension, fear, and tragedy. The family makes a desperate and
shocking decision that aligns with the prophecy's demand. This pivotal moment is emotionally charged
and intensifies the horror of the situation.

After the climax, the intruders leave the cabin, seemingly satisfied that they have fulfilled their part in
the prophecy. The family is left behind in their sorrow and trauma, and the aftermath of their decision
weighs heavily on them.

The novel ends on an ambiguous note. It does not definitively confirm whether the prophecy was true
or if the global disasters were mere coincidences. It also leaves the fate of the family open-ended,
adding to the emotional impact of the story.

In the end, "The Cabin at the End of the World" delivers a potent blend of psychological horror and
emotional depth, raising thought-provoking questions about faith, sacrifice, love, and the lengths to
which people will go when pushed to their limits. Its ambiguity and intense atmosphere leave a lasting
impact, making it a compelling and unsettling read.




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PROMPT:

Summarize in detail the first part of "13 Ways of Looking at a Fat Girl" by Mona Awad

OUTPUT:

"13 Ways of Looking at a Fat Girl" by Mona Awad is a collection of interconnected stories exploring the
life and experiences of the main character, Lizzie, as she navigates societal pressures around weight,
beauty, and self-image. It uses various perspectives and narrative styles to dissect the stigma
surrounding body weight and appearance, especially concerning women.

In the first part of the book, we're introduced to young Lizzie, who lives in Mississauga, a suburb of
Toronto. In the first story, titled "When We Went Against the Universe," Lizzie and her best friend Mel
are portrayed as teenagers hanging out in their local 24-hour Tim Hortons, obsessing over boys and
food. This story sets the tone for Lizzie's complicated relationship with food, weight, and body image.
Lizzie is portrayed as self-conscious, comparing herself unfavorably to her friend Mel, whom she
perceives as more attractive and more comfortable in her own body.

Subsequent stories reveal Lizzie's struggle with her weight in more detail. "My Mother's Idea of Sexy"
presents Lizzie's mother as a figure obsessed with her own body image and dieting, imposing these
insecurities on Lizzie. "The Girl I Hate" introduces us to China, a thinner and seemingly happier girl who
appears to have everything Lizzie wants, stirring feelings of jealousy and inadequacy.

In "Treadmill," we see Lizzie starting to exercise obsessively as a means of controlling her weight. The
treadmill becomes a symbol of her struggle for self-acceptance and her desire to fit into societal norms
of beauty. "She'll Do Anything" illustrates Lizzie's desperation to be seen as desirable, leading her to
engage in damaging relationships with men who treat her poorly.

In this first part of the book, Mona Awad explores the intricate links between weight, self-esteem, and
societal perceptions. Lizzie's weight becomes a constant source of anxiety, shame, and self-loathing,
significantly impacting her mental health and shaping her relationships with others. Her efforts to
conform to societal beauty standards are shown as an uphill battle, shedding light on the extreme
lengths some people go to in an attempt to feel accepted and loved.

The book also tackles the theme of female friendships, particularly the complicated dynamics that can
occur when weight and attractiveness come into play. Lizzie's relationships with Mel, her mother, and
China are often marked by comparison, competition, and insecurity.

In summary, the first part of "13 Ways of Looking at a Fat Girl" provides a detailed and sensitive
exploration of the societal pressures and personal challenges related to body weight and self-image,
focusing on Lizzie's experiences as a young girl growing up in suburban Toronto.

PROMPT:

Summarize in detail the next part of "13 Ways of Looking at a Fat Girl" by Mona Awad




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OUTPUT:

In the second part of "13 Ways of Looking at a Fat Girl," Lizzie's struggle with her weight and self-image
continues, but her circumstances change significantly. The narrative still follows Lizzie, but now she's an
adult, living and working in the city. She's lost a significant amount of weight through dieting and
exercise, but the book reveals that her problems have not been solved with weight loss.

In "Your Biggest Fan," Lizzie is working at a plus-size clothing store. Though she's lost weight, she still
identifies with the overweight women who come into the store, experiencing feelings of camaraderie
but also bitterness and superiority. The story subtly critiques the commercial exploitation of body
insecurities and the self-loathing that can result from it.

"Beyond the Sea" details Lizzie's relationship with Tom, her first boyfriend. Tom is attracted to Lizzie
when she's larger, but as she loses weight, their relationship falters. Lizzie's fixation on her weight loss
strains the relationship to the point of collapse, offering a grim reminder that her issues with body
image are far from resolved.

In "She'll Do Anything," Lizzie, now going by Elizabeth, engages in a series of one-night stands. It's
suggested she uses sex as a form of validation and proof of her desirability. However, her encounters
with men are often unfulfilling and at times degrading, underlining the stark contrast between her
expectations and reality.

In "Thirteen Ways of Looking at a Fat Girl," the eponymous story, Elizabeth goes on an extreme diet and
exercise regime. She obsessively monitors her weight, her body, her clothing size, her meals. She
compares herself constantly to other women, perpetually finding herself wanting. This piece starkly
illustrates the destructive obsession with thinness and the emotional toll it can take.

"The Life of the Mind" introduces us to Elizabeth's life as a married woman. Her husband, an archivist
named Arch, appreciates her for who she is, but Elizabeth is still unable to find contentment. Her
constant worry over gaining weight and her obsession with her appearance strain their relationship.

Throughout the second part of the book, we see that Elizabeth's self-esteem issues persist despite her
weight loss. Her transformation does not lead to the self-acceptance and happiness she was seeking,
emphasizing the harmful effects of internalizing societal beauty standards and the complexities of body
image and self-perception. The stories show that Elizabeth's problems with self-image and self-esteem
are deeply ingrained and not simply resolved by losing weight. Instead, her weight loss seems to
exacerbate her anxieties and self-doubt, highlighting the often-overlooked psychological aspects of body
image and weight loss.

PROMPT:

Summarize in detail the next part of "13 Ways of Looking at a Fat Girl" by Mona Awad

OUTPUT:

In the final part of "13 Ways of Looking at a Fat Girl," we continue to follow Elizabeth, who is now thin
but still wrestling with body image issues, self-esteem, and her relationships. Elizabeth's struggle with


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weight loss does not result in the happiness and acceptance she yearned for; instead, it further exposes
her deep-rooted insecurities and dissatisfaction with her self-image.

The story "When We Went Against the Universe," retells the first story but from the perspective of the
now thin and married Elizabeth, reflecting on her past with Mel. It's clear that Elizabeth's perceptions of
herself and others have drastically shifted. Her relationship with Mel becomes strained as Elizabeth now
views her as fat, lazy, and unattractive.

In "The von Furstenbergs," Elizabeth's preoccupation with her body image seeps into her marriage,
causing a rift between her and her husband, Arch. Despite Arch's reassurances that he loves her as she
is, Elizabeth constantly seeks validation and assurance about her appearance from him. This piece
illustrates the emotional strain that body image issues can put on a relationship.

"Jen and the Basic Bitch" portrays Elizabeth's encounter with a woman named Jen at a gym, who has a
seemingly perfect body. Elizabeth both envies and despises Jen, illustrating her constant comparisons to
other women and her tendency to project her insecurities onto them.

In the final story, "The Girl I Hate," Elizabeth takes a trip back to her hometown and runs into her old
frenemy, China. The two meet in a dressing room where China, now heavier and pregnant, needs
Elizabeth's help to try on clothes. Here, Elizabeth realizes that her thinness hasn't brought her the
satisfaction she thought it would. She's thinner than China, but she doesn't feel triumphant or superior;
instead, she feels a mixture of pity, disgust, and a strange sense of loss.

The final part of the book underlines the insidious nature of body image issues and the harmful effects
of internalized societal beauty standards. Even as a thin woman, Elizabeth remains tormented by self-
doubt and insecurity, highlighting the deep psychological aspects of body image and self-esteem. Her
journey reveals that achieving societal standards of beauty does not guarantee happiness or self-
acceptance, a poignant message in a culture obsessed with thinness.

"13 Ways of Looking at a Fat Girl" ends on a note of bitter irony: Elizabeth, now thin, is not happier,
healthier, or more loved than she was when she was overweight. Instead, she's consumed by her
insecurities, more isolated, and emotionally drained, ultimately debunking the myth that thinness
equals happiness.




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PROMPT:

Summarize in detail the first part of "Bunny" by Mona Awad

OUTPUT:

As of my knowledge cutoff in September 2021, the novel "Bunny" by Mona Awad was published in 2019.
Please note that the following description is based on the information available up to that date.

"Bunny" is a darkly humorous and somewhat surreal novel set in a fictional New England university. The
protagonist is Samantha Heather Mackey, an outsider in her small, highly selective MFA program at the
elite Warren University. Samantha is a scholarship student from a less privileged background, making
her feel like an outsider in this environment.

The first part of the book is primarily devoted to establishing Samantha's world, her perspectives, and
her relationship with the four other women in her program, whom she collectively refers to as the
"Bunnies." These women are Ava, Jen, Eleanor, and Fleur. Samantha and the Bunnies have a strained
relationship; they are extremely close with each other but alienate Samantha with their insular group
dynamics and the overly sweet, almost cloying way they interact with each other, always referring to
each other as "Bunny."

Samantha's only friend is Ava, a girl from outside the program who shares her sarcastic view of the
world. Ava and Samantha bond over their mutual disdain for the Bunnies, whose privileged,
otherworldly existence seems almost laughable to them. Samantha's life revolves around Ava, her
coursework, and her own writing, which she finds increasingly difficult to focus on.

However, Samantha finds herself inexplicably drawn to the Bunnies, despite her initial contempt for
them. Their closeness and their almost unworldly happiness is something Samantha yearns for, even as
she derides it. The first part of the novel ends with Samantha receiving an invitation to the Bunnies'
"Smut Salon," and despite her reservations and Ava's disapproval, she decides to attend, setting in
motion a series of strange and darkly magical events.

"Bunny" uses these initial chapters to present a critique of elite academia and the class and social
structures that underlie it. The isolation and outsider status that Samantha feels are a significant theme,
as well as the exploration of female friendships, desire for acceptance, and the nature of art and
creativity.

Please keep in mind that Mona Awad's novel is known for its surreal and genre-blending elements,
which increase as the narrative progresses. The book incorporates elements of horror, fantasy, and
magical realism in its exploration of these themes. The first part of the book is primarily rooted in
realism, but there are hints of the surreal elements that become more prominent later on. It's important
to note that the novel's later events might provide additional context or interpretations of the events in
the first part.

PROMPT:

Summarize in detail the next part of "Bunny" by Mona Awad


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OUTPUT:

As previously noted, as of my last training data in September 2021, Mona Awad's novel "Bunny" was
published in 2019. Here's an overview of what follows the initial section of the book based on
information available up to that point.

After Samantha decides to attend the Bunnies' "Smut Salon," the novel begins to introduce elements of
the surreal and uncanny. Samantha becomes gradually more involved with the Bunnies and their
activities, which, it turns out, are far from the mundane academic pursuits she had imagined.

The Smut Salon isn't an ordinary gathering for sharing writing, as Samantha initially thought. Instead, the
Bunnies engage in a bizarre ritual, where they use their combined will and a strange cupcake to
transform a bunny into a man – a "draft" they then use for their own emotional and creative fulfillment.
Samantha is horrified but also mesmerized by this process.

Her life begins to change significantly as she gets drawn further into the Bunnies' world. She begins to
drift away from Ava, her only friend, who is increasingly concerned and skeptical about Samantha's
involvement with the Bunnies. Samantha finds herself caught between her loyalty to Ava and her new,
intoxicating, and disturbing relationship with the Bunnies.

At the same time, Samantha's writing improves, and she starts receiving recognition from her professor
and peers. The line between reality and fantasy, the literal and the metaphorical, becomes blurred for
Samantha as she becomes more enmeshed with the Bunnies and their activities. Despite the
strangeness and horror of the situation, Samantha is drawn to the Bunnies because of the sense of
belonging and creative fulfillment they offer her.

The Bunnies' rituals with their "drafts" raise complex questions about creativity, exploitation, and the
lengths artists might go to for their art. Samantha's complicity in these activities complicates her
character and the moral landscape of the novel.

As the novel progresses, Samantha becomes more isolated from her previous life and more deeply
entangled in the darkly magical and disturbing world of the Bunnies, setting the stage for the conflicts
and revelations that occur in the latter part of the book. Again, please keep in mind that Mona Awad's
"Bunny" is a complex, genre-blending narrative that merges elements of satire, horror, and fantasy,
which only intensify as the novel continues.

PROMPT:

Summarize in detail the next part of "Bunny" by Mona Awad

OUTPUT:

In the next part of "Bunny" by Mona Awad, Samantha's involvement with the Bunnies continues to
intensify and complicate her life. This part of the book further develops the surreal and uncanny
elements introduced in the previous section, escalating the narrative tension and deepening the book's
exploration of its key themes.



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Samantha, now fully integrated into the Bunnies' clique, continues participating in the rituals. The
ethical and moral implications of creating and then disposing of the "drafts" start to weigh on her, even
as she can't resist the allure of the Bunnies' world. Her creative writing flourishes, but at a high personal
cost.

Meanwhile, Samantha's relationship with Ava deteriorates. Ava, worried about Samantha's changed
behavior and increasing detachment, confronts her about her involvement with the Bunnies. Samantha,
torn between her loyalty to Ava and her complicity with the Bunnies, finds herself isolated and
conflicted.

The Bunnies' rituals grow darker and more intense, reflecting the escalating tension in Samantha's
relationships and her internal emotional state. The line between reality and the surreal blurs even
further as Samantha gets more deeply involved with the Bunnies.

An important revelation in this part of the book is that the Bunnies' rituals don't always go as planned.
Samantha witnesses a ritual where the resulting "draft" is flawed and disturbing, increasing her unease
about the Bunnies and their activities.

Simultaneously, Samantha's own writing begins to take on a life of its own. As she works on her novel,
she starts to see parallels between her fictional characters and the Bunnies, further blurring the line
between art and life.

The narrative tension rises as Samantha's allegiances are tested and her complicity with the Bunnies
comes with greater and greater moral costs. The novel's exploration of themes such as the nature of art
and creativity, female friendships, and social class dynamics deepens, setting the stage for the climactic
final part of the book.

"Bunny" continues to be a genre-blending narrative, combining elements of horror, fantasy, satire, and
psychological drama, and these elements become more prominent as the book nears its conclusion.

PROMPT:

Summarize in detail the ending of "Bunny" by Mona Awad

OUTPUT:

As we approach the ending of "Bunny," Samantha's involvement with the Bunnies reaches a tipping
point, and the consequences of their rituals become more significant.

The tension between Samantha and the Bunnies rises as she becomes increasingly uncomfortable with
the creation and disposal of the "drafts." At the same time, Samantha's novel—based on the Bunnies
and their rituals—begins to take on a disturbing life of its own. Her creations also become autonomous
and uncontrolled, mirroring the uncontrollable nature of the Bunnies' own creations.

Samantha's relationship with Ava also reaches a climax. It's revealed that Ava is not what she seems:
she's actually a "draft" Samantha unwittingly created, an embodiment of her own longing for friendship
and acceptance. This revelation further blurs the lines between reality and fantasy, art, and life.

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In a moment of crisis, Samantha attempts to extricate herself from the Bunnies and their rituals. She
tries to save one of the "drafts" from being killed by the Bunnies, a move that triggers a final,
catastrophic confrontation between her and the Bunnies.

During the confrontation, the Bunnies turn on each other, leading to their collective downfall. They die
in a violent explosion caused by their own magic, a powerful symbol of the destructive potential of their
unchecked privilege and creative powers.

With the Bunnies gone, Samantha is left alone to confront the consequences of her involvement with
them. The novel ends with Samantha grappling with the implications of her actions and struggling to
separate her reality from the fantastical elements that have pervaded her life. She faces an uncertain
future, both personally and academically, but there's a sense of liberation in her final separation from
the Bunnies.

"Bunny" is a complex, genre-blending narrative that uses elements of horror, fantasy, satire, and
psychological drama to explore themes of art, creativity, female friendships, and social class dynamics.
The ending further intensifies these elements and themes, offering a darkly humorous and somewhat
surreal commentary on elite academia and the nature of art and creativity.




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